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TRANSCRIPT OF “The Real Difference Between The Two Platforms”

Posted to CRS Firearms YouTube Channel on December 30, 2020

(The following may contain unintelligible or misunderstood words due to the
recording quality.)

MH:

MH = MATTHEW RAYMOND HOOVER

All right. So | just dropped my last video talking about this particular
project right here, the Prophet. And one of the heated comments was
that cannot be a sniper rifle, and there's some truth behind this. And |
should probably start out this video by saying, one, I've never been a
sniper. Two, I'm not trained to be a sniper. And God willing, three, | will
never be a sniper.

But the whole concept behind this project is to make a real sniper rifle.
And they were arguing, no, that would be called a precision rifle unless
it was actually used as a sniper rifle, and that's not true. For example, if
| built a racecar that never set foot on a racetrack, would it still be a
racecar? It can't be drove on the street. It can only be drove on the
racetrack. You're gonna have to be the judge of that. If | buy a hunting
knife that has never cleaned an animal, is it truly a hunting knife or is it
just a knife?

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talking piece. That's it, just a littlke design on a piece of metal. This way
you could show it to your friends and be like, "Hey, at one point in time,
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money order or cash inside the envelope, have it shipped to your anti-
gun relative, pick it up there. There's no possible way you could be on
any list. So check out autokeycards.com.

So what are the differences between a precision rifle and a sniper rifle?
Because there are differences and you have to take those into
consideration — or, | had to take those into consideration when I'm
doing this project because it's something different.

For example, this rifle right here, the Black 13 project, is closer toa
sniper rifle than the BA Shredder project. Now you're probably like,
"What? No, because that has a scope on it, that's more of a sniper rifle
than the Black 13.” Not true. Because when | was building this, | failed.
| mean, yes, | had all the requirements | wanted to do, but | failed on
mobility mainly. If | wanted to make this a sniper rifle, | would have to
throw some different bolt carrier in here that's a lot lighter, and I'd have
to get a lighter stock on here that's got the proper length of pull so if |
had to shoot it like this, it would be easy and | could. This, however, is
good to go. | got my dope card, everything. This is ready to go.

So let's go over some of the differences. To the whiteboard of
knowledge. So what are the differences between a sniper rifle and a
precision rifle? Number one, recoil. With a precision rifle, recoil needs
to be taken into consideration because you're using it on targets; you're
gonna shoot multiple shots. You don't want to get recoil fatigue and
start screwing up. A sniper rifle, you're gonna fire one, maybe two,

almost never three shots, so recoil isn't that big of a factor. The only

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thing that really matters is are you gonna get recoil flinch, because if

you're getting recoil flinch and missing your target, then, okay, recoil is
a consideration, but you run muzzle brake, stuff like that. But there's
also a downside to it when running a muzzle brake, it's gonna kick up a
bigger dust cloud, move more brush, stuff like that, might get you
spotted.

Number two, weight. Weight is a really big factor with a sniper rifle. If
the rifle is too frickin’ heavy to get into your final firing position, or it
makes you clumsy where you can't use good fuel craft or something
like that, it's a failure. With a precision rifle, it doesn't really matter. |
could throw that rifle on a dolly cart and go to where I'm shooting
because it don't matter. The weight is not a factor with a precision rifle.
Accuracy, not a factor with the sniper rifle. Well, | shouldn't say that.
Accuracy does matter with a sniper rifle, but a lot less. Like you could
have a very effective 1 MOA sniper rifle if you understand the rifle's
limitations and you work around them. Now, a 1 MOA precision rifle, |
would consider that a failure. That rifle would get torn apart and I'd
figure out what the problem with the accuracy is and I'd fix it.

Uh, we're at what, number 4 now? Mobility. With a sniper rifle, being
able to fold up the stock like this, make the rifle smaller, make it so |
could go through smaller places is an actual thing. With a precision
rifle, mobility doesn't matter. Again, you could throw that bad boy ona
dolly cart and go to your little shooting stand and shoot paper.

Color. With a sniper rifle, color is an issue. With a precision rifle, that

thing could be blaze orange, it doesn't really matter. If people see it,

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oh, well, it's a precision rifle. Cool, check out my rifle. With a sniper

rifle, a blaze orange rifle would not pan out very well.

Kinetic energy is a huge factor with a sniper rifle, not a factor with a
precision rifle. That's where like your 6.5 Creedmoor comes into play.
Well, the 6.5 Creedmoor shooting at 1,000 yards, it doesn't matter. |
only gotta have enough kinetic energy to pop a hole in a piece of paper.
If | were to take 1,000 yard shot with a sniper rifle, | better be rocking
like a .338 Lapua, .300 Win Mag, .50 cal, something like that, because
if | don't have enough kinetic energy to do enough damage on my
target, that can be a serious problem. The last thing you want to do is
not neutralize your intended target.

A complete package, not a problem with a precision rifle. With a
precision rifle, there's no need for a monopod, a bi-pod, anything like
that because you can use a shooting rest, use some sandbags,
whatever. A sniper rifle, you have a complete package, your bipod,
your monopod. With a precision rifle, a monopod doesn't really work
out because it needs to be adjusted every single time you fire. So it's
faster with a sandbag. You don't want to be plugging up the shooting
line too long, so you just squeeze the sandbag, make your shot,
squeeze it to where you need to be again, make your shot. Witha
sniper rifle, because you're looking at ideally a single shot, you adjust
your monopod, get everything perfect, make sure everything's working
out, everything's lined up just so, and you take your shot. Fold
everything up, collapse your stock down, sling this bad boy on your

back and get the hell out of there.

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Different styles of scopes. With a sniper rifle, it's ideal to run a first

focal plane scope because it keeps your reticle relevant to the size of
the target. With a second focal plane, as you zoom in, your reticle size
changes, so it's no good for range estimation or anything like that. With
a second focal plane scope, you have very crisp, very sharp reticles.
So if you're shooting at Known ranges, like | know that target is 400
yards away or 500 yards away. A first — a second focal plane scope is
really nice 'cause you get a clean reticle; it can make nice really tight
shots. With a first focal plane, you sacrifice a clean reticle, but now the
reticle is always calibrated to a specific size. So if you're unsure of the
range or you think you estimated the range wrong or your laser range
finder might be malfunctioning or something, you can use your reticle to
get a good confirmation is that the range I'm truly shooting at, or | can
even use my reticle to estimate the range altogether.

Monopod and sandbag, | already talked about that.

So, yes, in the end, God willing, this will never actually be used as a
sniper rifle. But as you can see, there's a lot of differences between a
precision rifle and a sniper rifle. And you've gotta have a plan when
you're assembling this because this is a tool. If you don't have an idea
of what the tool is gonna be used for, it's gonna be all over the place.
Like if | were to build a precision rifle, it would be drastically different
than if | were to build a sniper rifle. If | were to build an ELR shooter, it
would be drastically different than a sniper rifle or a precision rifle, if you
get where I'm following here.

Uh, there was something else | wanted to say. Oh, yeah. Another

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thing with a sniper rifle, flash kill. That's a problem. You've gotta do

something about that, whether you want to do a little square in the
scope cap or you want to put a flash kill on it or something like that.
You need to take that into consideration, where a precision rifle it
doesn't matter. The paper doesn't care if it sees a reflection off of your
scope. But yeah.

So the main purpose of this, yes, there is a very clear difference on the
design behind a sniper rifle and the design behind a precision rifle. And
you need to decide what you're gonna build long before you purchase
your very first part because how you build it will affect how well it's
gonna do the very job you're building it for.

And have a plan. Don't just start throwing parts at a rifle. Have a plan.
Like, okay, this is what | want the rifle to do. Again, like | said, this was
really close. This was almost a complete success. It did all the jobs |
wanted, but | screwed up on the stock; and | should have went with
some sort of skeletonized bolt carrier because the cost of both of these,
I'm not gonna tear this apart and change it.

So this is a semiautomatic precision rifle. What | wanted was a
semiautomatic sniper system. It's close and there is a lot of overlap
between the two. In a pinch, you could most definitely use one for the
other, but there are very clear differences and you need to be aware of
these differences before you do your build.

Anyhoo, | appreciate you guys watching my video. If you'd like to help
support the channel, got my Patreon right there. | also have affiliate

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5 (CONCLUSION OF VIDEO)

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